     Case 2:85-cv-04544-DMG-AGR Document 1029 Filed 11/16/20 Page 1 of 4 Page ID
                                     #:41906


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14
                       UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   JENNY LISETTE FLORES; et al.,           ) Case No. CV 85-4544
17                                           )
             Plaintiffs,                     ) NOTICE FILING JUVENILE
18                                           ) COORDINATOR REPORTS
19                v.                         )
                                             )
20   WILLIAM P. BARR, Attorney               )
21   General of the United States; et al.,   )
                                             )
22           Defendants.                     )
23
                                             )
                                             )
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     Case 2:85-cv-04544-DMG-AGR Document 1029 Filed 11/16/20 Page 2 of 4 Page ID
                                     #:41907


 1         On October 26, 2020, the Court ordered Defendants to file interim compliance
 2
     reports from Ms. Deane Dougherty, the Juvenile Coordinator for U.S. Immigration
 3

 4   and Customs Enforcement (“ICE”), and Ms. Aurora Miranda-Maese, the Juvenile

 5   Coordinator for the U.S. Department of Health and Human Services, Office of
 6
     Refugee Resettlement (“ORR”) by November 16, 2020 (ECF No. 1014). In
 7

 8
     accordance with the Court’s Orders, ICE and ORR submit the attached compliance

 9   reports for the Court’s consideration.
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     Case 2:85-cv-04544-DMG-AGR Document 1029 Filed 11/16/20 Page 3 of 4 Page ID
                                     #:41908


 1
     DATED:     November 16, 2020      Respectfully submitted,
 2

 3
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10                                     /s/ Sarah B. Fabian
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     Case 2:85-cv-04544-DMG-AGR Document 1029 Filed 11/16/20 Page 4 of 4 Page ID
                                     #:41909


 1                               CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on November 16, 2020, I served the foregoing pleading

 4   and attachments on all counsel of record by means of the District Clerk’s CM/ECF
 5
     electronic filing system.
 6

 7

 8                                              /s/ Sarah B. Fabian
 9                                              SARAH B. FABIAN
                                                U.S. Department of Justice
10                                              District Court Section
11                                              Office of Immigration Litigation

12                                              Attorney for Defendants
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